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     UNITED STATES BANKRUPTCY COURT
     SOUTHERN DISTRICT OF NEW YORK

                                                              :
 In re:                                                       : Chapter 11
                                                              :
 SUNEDISON, INC., et al.,                                     : Case No. 16-10992 (SMB)
                                                              :
                    Debtors.1                                 : (Jointly Administered)
                                                              :


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      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s tax identification number are as
      follows: SunEdison, Inc. (5767); SunEdison DG, LLC (N/A); SUNE Wind Holdings, Inc. (2144); SUNE Hawaii
      Solar Holdings, LLC (0994); First Wind Solar Portfolio, LLC (5014); First Wind California Holdings, LLC (7697);
      SunEdison Holdings Corporation (8669); SunEdison Utility Holdings, Inc. (6443); SunEdison International, Inc.
      (4551); SUNE ML 1, LLC (3132); MEMC Pasadena, Inc. (5238); Solaicx (1969); SunEdison Contracting, LLC
      (3819); NVT, LLC (5370); NVT Licenses, LLC (5445); Team-Solar, Inc. (7782); SunEdison Canada, LLC (6287);
      Enflex Corporation (5515); Fotowatio Renewable Ventures, Inc. (1788); Silver Ridge Power Holdings, LLC (5886);
      SunEdison International, LLC (1567); Sun Edison LLC (1450); SunEdison Products Singapore Pte. Ltd. (7373);
      SunEdison Residential Services, LLC (5787); PVT Solar, Inc. (3308); SEV Merger Sub Inc. (N/A); Sunflower
      Renewable Holdings 1, LLC (6273); Blue Sky West Capital, LLC (7962); First Wind Oakfield Portfolio, LLC (3711);
      First Wind Panhandle Holdings III, LLC (4238); DSP Renewables, LLC (5513); Hancock Renewables Holdings,
      LLC (N/A); Everstream HoldCo Fund I, LLC (9564); Buckthorn Renewables Holdings, LLC (7616); Greenmountain
      Wind Holdings, LLC (N/A); Rattlesnake Flat Holdings, LLC (N/A); Somerset Wind Holdings, LLC (N/A); SunE
      Waiawa Holdings, LLC (9757); SunE MN Development, LLC (8669); SunE MN Development Holdings, LLC
      (5388); SunE Minnesota Holdings, LLC (8926); Terraform Private Holdings, LLC (5993); Hudson Energy Solar
      Corporation (3557); SunE REIT-D PR, LLC (5519); SunEdison Products, LLC (4445); SunEdison International
      Construction, LLC (9605); Vaughn Wind, LLC (4825); Maine Wind Holdings, LLC (1344); First Wind Energy, LLC
      (2171); First Wind Holdings, LLC (6257); and EchoFirst Finance Co., LLC (1607). The address of the Debtors’
      corporate headquarters is Two CityPlace Drive, 2nd floor, St. Louis, MO 63141.
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         NOTICE OF EFFECTIVE DATE OF CONFIRMED SECOND AMENDED
                    JOINT PLAN OF REORGANIZATION OF
                SUNEDISON, INC. AND ITS DEBTOR AFFILIATES

 TO ALL CREDITORS, INTEREST HOLDERS, AND OTHER PARTIES IN INTEREST:

                 PLEASE TAKE NOTICE that on July 28, 2017, the United States Bankruptcy
 Court for the Southern District of New York (the “Bankruptcy Court”) entered an order [Docket
 No. 3735] (the “Confirmation Order”) confirming the Second Amended Joint Plan of
 Reorganization of SunEdison, Inc. and Its Debtor Affiliates (as may be amended, modified, or
 supplemented from time to time and including all exhibits and supplements thereto, the “Plan”).
 Copies of the Confirmation Order and the Plan, together with all pleadings and orders of the
 Bankruptcy Court in the above-captioned chapter 11 cases, are publicly available by accessing
 the Bankruptcy Court’s website, http://www.nysb.uscourts.gov, for a nominal charge (a PACER
 account is required), or by accessing the website of the Debtors’ claims, noticing and balloting
 agent, Prime Clerk, LLC (the “Administrative Agent”), https://cases.primeclerk.com/sunedison,
 free of charge.

                 PLEASE TAKE FURTHER NOTICE that on December 29, 2017, the
 Effective Date of the Plan occurred. All conditions precedent to consummation of the Plan set
 forth in Article XII therein have either been satisfied or waived in accordance with the Plan and
 Confirmation Order.

                PLEASE TAKE FURTHER NOTICE that, except as otherwise set forth in the
 Plan or the Confirmation Order, all requests for payment of an Administrative Claim must be
 filed with the Administrative Agent on or before the date that is thirty (30) days after the
 Effective Date.

                 PLEASE TAKE FURTHER NOTICE that all final requests for payment of
 Professional Claims for services rendered to the Debtors from the Petition Date through and
 including December 29, 2017, shall be filed with the Bankruptcy Court on or before the date that
 is sixty (60) days after the Effective Date.

                 PLEASE TAKE FURTHER NOTICE pursuant to Article VIII of the Plan,
 except as otherwise provided in the Plan, each Executory Contract or Unexpired Lease is deemed
 automatically rejected as of the Effective Date unless any such Executory Contract or Unexpired
 Lease: (a) is listed on the schedule of “Assumed Executory Contracts and Unexpired Leases”
 contained in Exhibit 8.1 of the Plan (as amended); (b) has been previously assumed by the
 Debtors by Final Order of the Bankruptcy Court or has been assumed by the Debtors by order of
 the Bankruptcy Court as of the Effective Date, which order becomes a Final Order after the
 Effective Date; (c) is the subject of a motion to assume or reject pending as of the Effective Date;
 (d) is an Executory Contract related to any Intercompany Claim; or (e) is otherwise assumed
 pursuant to the terms of the Plan.

              PLEASE TAKE FURTHER NOTICE that, unless otherwise provided by a
 Bankruptcy Court order, any proofs of Claim asserting Claims arising from the rejection of the
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 Executory Contracts and Unexpired Leases pursuant to the Plan or otherwise must be filed with
 the Claims and Solicitation Agent no later than 30 days after the later of the Effective Date or the
 effective date of rejection.

                 PLEASE TAKE FURTHER NOTICE that, pursuant to Article VIII, except as
 otherwise set forth in the Plan or Confirmation Order, each Executory Contract or Unexpired
 Lease listed on the schedule of “Assumed Executory Contracts and Unexpired Leases” in Exhibit
 8.1 of the Plan (as amended) are deemed assumed as of the Effective Date, and shall be assumed,
 or assumed and assigned, as applicable, and shall vest in and be fully enforceable by the
 Reorganized Debtors or their successors or assignees (if any) in accordance with its terms,
 except as modified by the provisions of the Plan or any order of the Bankruptcy Court
 authorizing or providing for its assumption or applicable federal law. Unless otherwise provided
 in the Plan, each Executory Contract or Unexpired Lease that is assumed shall include all
 modifications, amendments, supplements, restatements, or other agreements that in any manner
 affect such Executory Contract or Unexpired Lease, and all rights related thereto, if any,
 including all easements, licenses, permits, rights, privileges, immunities, options, rights of first
 refusal, and any other interests, unless any of the foregoing agreements has been previously
 rejected or repudiated or is rejected or repudiated pursuant to the Plan. The Confirmation Order
 shall constitute an order of the Bankruptcy Court approving any such assumptions pursuant to
 sections 365(a) and 1123 of the Bankruptcy Code.

                 PLEASE TAKE FURTHER NOTICE that, unless a counterparty to an assumed
 Executory Contract or Unexpired Lease filed a proper and timely objection to the Cure Notice or
 proposed Cure on or before fourteen (14) days after the applicable counterparty was served with
 a Cure Notice, such counterparty shall be deemed to have consented to the Cure Amount and
 shall be forever barred from asserting, collecting, or seeking to collect any additional amounts
 relating thereto against the Debtors or the Reorganized Debtors, or the property of any of them.

                PLEASE TAKE FURTHER NOTICE that the Plan and its provisions are
 binding on the Debtors, Reorganized Debtors, any Holder of a Claim against, or Interest in, the
 Debtors and such Holder’s respective successors and assigns, whether or not the Claim or
 Interest of such Holder is Impaired under the Plan and whether or not such Holder or Entity
 voted to accept the Plan.


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 Dated: New York, New York
        December 29, 2017

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